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                                 United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA


                      NOTICE OF E-FILED DOCUMENT DISCREPANCY

 CASE NUMBER: 3:17-cv-00192-AJB-NLS
 TITLE: Satmodo, LLC v. Whenever Communications, LLC et al
 E-FILED DATE: 2/24/2017                     DOCUMENT NO.: 6
 DOCUMENT TITLE: Notice of Errata and Correction to Defendants’ Memorandum of Points and
 Authorities in Support of Motion to Dismiss
 DOCUMENT FILED BY: Henaa Blanco

 Upon the electronic filing of the above referenced document(s), the following discrepancies are noted:


 Civil Local Rule or Electronic Case Filing Administrative Policies and Procedures Manual provision
 (“ECF”) Discrepancy

  OTHER: Erratas not accepted. Must file amended brief.




IT IS HEREBY ORDERED:
      The document is accepted despite the discrepancy noted above. Any further non-compliant
 ☐ documents may be stricken from the record.
      The document is rejected. It is ordered that the Clerk STRIKE the document from the record,
 ☒ and serve a copy of this order on all parties.
Counsel is advised that any further failure to comply with the Local Rules or Electronic Case Filing
Administrative Policies and Procedures Manual may lead to penalties pursuant to Civil Local Rule 83.1
or Criminal Local Rule 57.1.


                                                                      Hon. Anthony J. Battaglia
                                                                  Chambers of the Honorable
                                                                  Anthony J. Battaglia
